 

PETER SZANTO 949-887-2369 3 ' ' '
11 Shore Pine ?3§33§']' 3333 333 W {; §§
Newport Beach CA 92657 “ " ` ° “ “ fig

United States Bankruotchourt w

in and for the District of OREGON
1001 svv 5"‘ Av.. Portland oR 97204 3

ln Re Peter Szanto, Debtor Adversarlal # 16'39"3114
““““““““““““““““““““ Core case:16-bk-331 85-p¢m7

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Peter Szanto, Plaintiff
Demand for Personal Aggearance

of Claimants at Trial of Matter Herein

VS.

Evye Szanto, et al,

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Defendants

 

 

 

Peter Szanto herewith and hereby demands the personal attendance

of all claimants at the trial of the matter herein.

Notice is given that Peter Szanto intends to examine all claimants

at the trial of the matter herein.

l\lotice is further given that a Medica| Doctor, specializing in psychiatry
will be'attendance at all trial proceedings Said l\/ledlcal Doctor Wil| provide
expert testimony regarding the demeanors and veracity of all claimants and

their counsel
DATED 7-17-2018

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and Notice of lntent
to Examine A|l Claimants

 

Peter Szanto

 

 

 

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Proof of Service

l\/ly name is Maquisha Reynolds, l am over 21 years of age and not
a party to the within action. l\/ly business address is PO Box 14894,
lrvine CA 92623. On the date indicated below, l personally served the

within:

gema_r_\_q for Ap_pearance and Notices
by e-mail to l\/lr. Olsen and l\/lr. Henderson at:
nhenderson@portlaw.com

l declare under penalty of perjury under the laws of the United States
that the foregoing is true and correct. Signed at PeFtlanel-QR.

J;Q\J\r~l\’:`/<`A

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oated 7-17-2018 /S/ /"%M /<i/~»ea/

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